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4
     Attorney for Defendant
5    RICARDO MANZO-RANGEL
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7
8                                     UNITED STATES DISTRICT COURT
9                                 NORT HERN DISTRIC T OF C ALIFO RNIA
10                                                             ooo
11    UNITED STATES OF AMERICA,                                  CASE NO. 05-cr-00555-CRB
12                      Plaintiff,
13    vs.
14                                                               STIPULATION TO CONTINUE
      RICA RDO MA NZO -RAN GEL , et al.,                         SENTENCING
15
16                      Defendants.

17                                                         /

18
19            IT IS HEREBY STIPU LATED AN D AGREE D by and between Michael
20   Stepanian, counsel for defendant Ricardo Manzo-Rangel, and Susan Jerich, Assistant
21   United States A ttorney, tha t the sen tencing hearing presen tly set for W ednesd ay, June2 8,
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     Stipulation to continue sentencing Manzo-Rangel Cr-05-00555-CRB
              Case 3:05-cr-00555-CRB                Document 66            Filed 06/29/06          Page 2 of 2



1    2006 at 2:15 p.m. be moved to Wednesday July 19, at 10:00 a.m.
2     Date: June 23, 2006                                    /s/ Michael Stepanian
3                                                            MICHAEL STEPANIAN
                                                             Counsel for defendant
4                                                            RICARDO MANZO-RANGEL

5
6     Date: June 23, 2006
                                                             /s/ Susan Jerich
7                                                            SUSAN JERICH
                                                             Assistant United States Attorney
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     SO ORDERED:                                                             TES D      TC
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     Dated: June 28         , 2006                         CHARLES R. BREYER




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                                                                UNIT
                                                           United States District Judge
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     Stipulation to continue sentencing Manzo-Rangel Cr-05-00555-CRB
